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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PATRICIA SENIOR,

                                        Plaintiff,                       21 Civ. 10640 (PAE)
                         -v-

 VIACOMCBS INC.,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       As reviewed with counsel at today's initial pretrial conference, the Court stays discovery

in the case pending the outcome of mediation, which the Court expects will be complete within

three months. Counsel are directed to file a letter notifying the Court as to the result of the

mediation promptly upon its completion. If mediation is still ongoing after 90 days from today,

counsel are to file a letter with the Court as to the status of the mediation, and again every 3 0

days thereafter. If mediation is unsuccessful, the Court will reissue the parties' proposed case

management plan and set a date for a case management conference.

       To expedite the resolution of this case, the Court directs that a Court-annexed mediator

be promptly appointed.

       SO ORDERED.



                                                               PAUL A. ENGELMAYER
                                                               United States District Judge
Dated: February 25, 2022
       New York, New York
